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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                                  THIRD DIVISION


UNITED STATES OF AMERICA,                                          Criminal No. 07-279 JRT/AJB

                              Plaintiff,

v.                                                      REPORT AND RECOMMENDATION

CRESCENCIO LEON BARRAZA,

                              Defendant.


       Tracy Perzel, Esq., Assistant United States Attorney, for the plaintiff, United States of
       America;

       William Orth, Esq., for the defendant, Crescencio Leon Barraza.


               This action came on for hearing before the Court, Magistrate Judge Arthur J.

Boylan, on August 29, 2008, at the U.S. Courthouse, 300 South Fourth Street, Minneapolis, MN

55415. The Court issued an Order on Motions dated September 3, 2008, reserving defendant

Crescencio Leon Barraza’s motion to suppress search and seizure evidence and motion to

suppress statements for submission to the district court on report and recommendation.

               Based upon the file and documents contained therein, along with exhibits and

testimony presented at hearing, the magistrate judge makes the following:

Findings

               Search Warrant. On September 4, 2007, United States Magistrate Judge

Franklin L. Noel issued a warrant to search a particularly described apartment residence in St.

Paul, Minnesota. (Hearing Exh. No. 1). The location is further identified in the supporting

affidavit as the residence of Crescencio Leon Barraza. The search warrant identified the objects
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of the warrant as documents relating to the sale of controlled substances, records and papers

relating to the transportation or distribution of controlled substances, address and telephone

books, financial records and false identifications, travel documents and receipts, safe deposit box

agreements and keys, money and valuables, photos, communications devices, and items

indicating constructive possession of items to be seized. The warrant was issued on the basis of

probable cause contained in the Affidavit of DEA Special Agent Lora L. Zimmer, including

confidential informant evidence, undercover officer reports, and surveillance information. The

affidavit states that evidence directly relating to drugs that was submitted in support of probable

cause was obtained in January and February 2007, approximately six months prior to the warrant

application and issuance, and corroborating evidence indicating defendant’s involvement in drug

sales was obtained in July 2007. In addition, the affidavit cites cooperating defendant evidence

indicating that the defendant Barraza had repeatedly sold drugs between early 2003 and July

2005. The search warrant was executed on September 6, 2007, and evidence was seized

pursuant to the warrant.

               Statements. On September 6, 2007, at 10:00 a.m., 12 law enforcement officers,

including Minnesota BCA Special Agent Jacob May, participated in the execution of a warrant

to search the apartment residence of defendant Crescencio Leon Barraza. The officers were also

seeking to execute a warrant to arrest defendant Barraza. The search location was on the second

floor of a two-story secured apartment building. The officers announced their presence at the

building entry door, but were required to make a forced entry into the building because there was

no response to their announcement. At the door of the defendant’s second floor unit the officers

again knocked and announced their presence, at which time Mr. Barraza answered. When the


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defendant opened the door, Special Agent May pushed him back from the entrance to allow

officers to enter and secure the premises. Defendant resisted and was pushed back to the

bathroom where he fell to the floor.

               Once the apartment was secured, Special Agent May helped Mr. Barraza to his

feet and escorted him to the kitchen table and explained the reason for the search. During the

entry the defendant had suffered scrapes on his arms, and Officer May placed bandages on the

scrapes. Barraza did not complain of injuries or other medical problems or impairments. Special

Agent May detected the smell of alcohol on the defendant, who stated that he had had a couple

of beers, but was not drunk. Agent May administered a horizontal gaze nystagmus test which

indicated that Barraza had been drinking, but was not necessarily alcohol impaired. Defendant’s

speech was not slurred, his eyes were normal in appearance, and he did not have difficulty

walking unassisted.

               Special Agent May decided to move the defendant to a Dodge Durango police

vehicle to conduct an interview because of the privacy afforded by the vehicle. May occupied

the driver’s seat and defendant Barraza sat in the front passenger seat. The agent estimated

defendant to be in his early 60’s in age, and determined that he was not impaired in regards to

understanding his rights and participating in an interview. The defendant was not handcuffed.

Agent May speaks English and Spanish. Upon May’s inquiry, the defendant stated that it was

his preference that he be advised of his rights in Spanish. The agent thereafter read the Miranda

advisory to Barraza in Spanish from a pre-printed card (Hearing Exh. No. 2). Defendant

acknowledged his understanding of each of the separate rights under Miranda. Prior to

commencement of questioning the defendant asked whether he would be allowed to stay at home


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if he agreed to the interview, and was advised that he was going into federal custody and would

not be permitted to remain at this residence in exchange for making statements. Barraza then

agreed to continue the interview. Questioning proceeded with defendant alternatively

responding in Spanish and English, and Special Agent May mirroring the defendant’s choice of

language. Defendant asked some questions, and he provided appropriate responses to requests

for biographical information. He appeared to understand the nature of questions put to him,

though May did not believe that the defendant was being fully truthful.

               Based upon the foregoing Findings, the Magistrate Judge makes the following:

Conclusions

               Search Warrant. Evidence seized pursuant to a warrant to search the

particularly described apartment residence in St. Paul, Minnesota (Hearing Exh. No. 1), was not

unlawfully obtained in violation of the constitutional rights of defendant Crescencio Leon

Barraza. The residence search warrant was issued on September 4, 2007, and was based upon

sufficient probable cause as stated in the Affidavit of DEA Special Agent Lora L. Zimmer, and

as determined by United States Magistrate Judge Franklin L. Noel. The warrant properly and

sufficiently identified the location of the search and the items to be seized. Evidence of the

defendant’s drug sales activities, and the likelihood that such evidence would be found at his

residence, was not stale in light of evidence of his sustained involvement in such activities,

dating back to early 2003 and July 2005, along with corroboration of continued involvement

with drugs in July 2007. The search warrant in this matter was lawfully issued and there is no

requirement for suppression of evidence seized pursuant to the warrant.

               In any event, the warrant issued on September 4, 2007, to search defendant’s


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residence was executed by officers having a objective good faith reliance on the validity of the

warrant, and the search was lawful on that account. United States v. Leon, 468 U.S. 897, 922-23

(1984). There is no evidence that the issuing judge was intentionally or recklessly misled by

false information in an affidavit; there is no suggestion that the judicial role was completely

abandoned by the issuing judge; the indicia of probable cause in the affidavit is not insignificant;

and the warrant is not facially deficient. United States v. Hessman, 369 F.3d 1016, 1020

(2004)(citing Leon, 468 U.S. at 923).

               The search warrant in this matter was lawfully issued and executed and

suppression of evidence seized pursuant to the warrant is not required. Alternatively, the

warrant was executed in good faith reliance on its lawful issuance and execution and again,

suppression is not required.

               Statements. Defendant Crescencio Leon Barraza’s custodial statements to

Minnesota BCA Special Agent Jacob May provided in an interview subsequent defendant’s

arrest pursuant to warrant, were provided voluntarily and were not obtained in violation of

defendant’s constitutional rights. Defendant was properly advised and was able to understand

and comprehend his rights pursuant to Miranda as accurately presented to him in Spanish from a

written statement of rights card. He was not subjected to force, threats, or promises in exchange

for his statements and he effectively waived his right to remain silent and his right to the

assistance of counsel. Upon considering the totality of circumstances, the Court is persuaded

that defendant’s will was not overborne; and he knowingly, intelligently, and voluntarily waived

his right to remain silent and his right to have an attorney present during questioning. Moreover,

the court expressly concludes that the defendant was not impaired by alcohol or physical trauma


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so as to render his waiver of rights ineffective. United States v. Contreras, 372 F.3d 974, 977-78

(8th Cir. 2004), United States v. Harper, 466 F.3d 634, 643-44 (8th Cir. 2006)(citations omitted).

Suppression of defendant’s interview statements is not required.

                 Based upon the foregoing Findings and Conclusions, the Magistrate Judge makes

the following:

                                     RECOMMENDATION

                 The Court hereby recommends that:

                 1. Defendant Crescencio Leon Barraza’s Motion to Suppress be denied [Docket

No. 20]; and

                 2. Defendant Crescencio Leon Barraza’s Motion to Suppress Statements be

denied [Docket No. 49].


Dated:     September 9, 2008

                                                       s/Arthur J. Boylan
                                                      Arthur J. Boylan
                                                      United States Magistrate Judge


               Pursuant to Local Rule 72.1(c)(2), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and by serving upon all parties, written
objections which specifically identify the portions of the Report to which objections are made
and the bases for each objection. This Report and Recommendation does not constitute an order
or judgment from the District Court and it is therefore not directly appealable to the Circuit
Court of Appeals. Written objections must be filed with the Court before September 24, 2008.

                Unless the parties stipulate that the District Court is not required by 28 U.S.C. §
636 to review a transcript of the hearing in order to resolve all objections made to this Report
and Recommendation, the party making the objections shall timely order and file a complete
transcript of the hearing within ten days of receipt of the Report.




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